Case 1:05-cV-00951-F.]S-RFT Documen

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

CHARLES C. HARRIS, THOMAS CLIFFORD,
DAVID R. DESROSIERS, RICHARD M. EVENS,
WILLIAM S. MCLAUGHL]N, JR., THOMAS M.
MURPHY, JAMES POWERS, GARY PREVOST,

ROBERT ROZELL, TERRY L. VANARNUM, JR.

KEV]N WH]BLE, PAUL J. WOLFE, DAVID J.
COWLES and JOHN W. WEAVER,

Plaintiffs,
-against-
FINCH, PRUYN & COMPANY, INC., THE
RETIREMENT BOARD OF FINCH, PRUYN &

CO., INC., RICHARD J. CAROTA, DAVID P.
MANNY, LAURIER J. LAVIGNE, JEFFREY W.

BENWAY, JOHN E. LEVANDOSKY AND FINCH

PAPER, LLC,
Defendants.

STIPULATION OF
DISMISSAL

Civil Action No. 05 -cv-951
(FJS/RFT)

VVVVVVVVVVVVVVVVVVV

STIPULATION OF DISMISSAL

 

Pursuant to Federal Rule of Civil Procedure 41, the undersigned counsel hereby stipulate on

behalf of their respective clients that this action b

e dismissed in its entirety with prejudice, with

each party to bear his and its own costs, expenses, and attomeys' fees. The parties state that no

party hereto is an infant or incompetent

 

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By: J% L(/'/v$ By:
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I'l` IS SO ORDERED:

 

Honorable Frederick J. Scullin, Jr.
Senior United States District Court Judge

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